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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

ANDREW LYLES,

     Plaintiff,                    Case No. 19-10673
                                   District Judge Laurie J. Michelson
v.                                 Magistrate Judge Kimberly G. Altman

KEITH PAPENDICK, ET. AL.,

     Defendants.

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                   AMENDED SCHEDULING ORDER

DISCOVERY CUTOFF                              August 12, 2021
DISPOSITIVE MOTION:                           September 12, 2021
JOINT FINAL PRETRIAL STATEMENTS:              TO BE SCHEDULED
TRIAL BRIEFS, MOTIONS IN LIMINE:              TO BE SCHEDULED
FINAL PRETRIAL CONFERENCE:                    TO BE SCHEDULED
TRIAL DATE TO BE SET AT TIME OF FINAL PRETRIAL CONFERENCE
THERE WILL BE NO ADJOURNMENTS OF THESE DATES, OTHER
THAN UPON MOTION SHOWING OF GOOD CAUSE.
IT IS SO ORDERED.


DATED: April 20, 2021        s/Kimberly G. Altman
                             KIMBERLY G. ALTMAN
                             UNITED STATES MAGISTRATE JUDGE
